         Case 2:12-cv-00859-LMA Document 1275 Filed 05/28/20 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                                  No. 12-859

MARLIN GUSMAN, ET AL.                                                  SECTION I

                                       ORDER

         Considering Orleans Parish Sheriff Marlin N. Gusman’s motion 1 to terminate

the Consent Decree, pursuant to 18 U.S.C. § 3626(b), and the Stipulated Order for

Appointment of Independent Jail Compliance Director,

         IT IS ORDERED that any response shall be filed by JUNE 17,

         2020. New Orleans, Louisiana, May 28, 2020.



                                        _______________________________________
                                                LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1274.
